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                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF MAINE

Mariners Pac Ventures, LLC                              CIVIL ACTION NO: 1:20-cv-00330-JDL

                 Plaintiff

                          vs.                           RE: VACANT REAL PROPERTY
                                                        23 Canabas Avenue, Waterville, ME 04901

Ricky W. Michaud and Kerri A. Michaud                   Mortgage:
                                                        June 25, 2009
                  Defendants                            Book 10152, Page 55

                          JUDGMENT OF FORECLOSURE AND SALE

                        Address: 23 Canabas Avenue, Waterville, ME 04901
                         Mortgage: June 25, 2009, Book: 10152, Page: 55

         This matter came before the Court pursuant to the Default entered on January 19, 2021

against Defendants, Kerri A. Michaud and Ricky W. Michaud [ECF 16], Fed. R. Civ. P. 55(b), this

Court's Procedural Orders dated February 25, 2021 [ECF 18 and 19], and the General Orders in

response to the recent outbreak of Coronavirus Disease 2019 (COVID-19) in accordance with the

Pandemic/Infectious Disease Plan for the United States District Court for the District of Maine (March 2020).

         Plaintiff, Mariners Pac Ventures, LLC (“Mariners Pac”), was represented by John A. Doonan,

Esq. None of the Defendants appeared or opposed Plaintiff's Motion for Default Judgment of

Foreclosure and Sale. All persons interested having been duly notified in accordance with the law,

and after consideration of the Affidavits with supporting documentary evidence and Memorandum

of Law in Support of Plaintiff's Motion for Default Judgment on Documentary Evidence, the

Plaintiff's Motion for Default Judgment is GRANTED.

         JUDGMENT on Count I – Foreclosure and Sale is hereby ENTERED as follows:

    1.      If the Defendants or their heirs or assigns pay Mariners Pac Ventures, LLC (“Mariners

            Pac”) the amount adjudged due and owing as of April 26, 2021 (attorney's fees and

            deficiency are waived) ($166,095.47) within 90 days of the date of the Judgment, as that
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          time period is calculated in accordance with 14 M.R.S.A. § 6322, Mariners Pac shall

          forthwith discharge the Mortgage and file a dismissal of this action on the ECF Docket.

          The following is a breakdown of the amount due and owing:

                           Description                                      Amount
       Principal Balance                                                                 $85,645.76
       Interest                                                                          $39,324.35
       Funds owed by Borrower – Taxes/PMI/Insurance                                      $17,215.82
       Prior Servicer Corporate Advance                                                  $22,839.12
       Prior Servicer 3rd Party Corporate Advance                                         $1,030.42

       Grand Total                                                                      $166,095.47

  2.      If the Defendants or their heirs or assigns do not pay Mariners Pac the amount adjudged

          due and owing ($166,095.47) within 90 days of the Judgment, as that time period is

          calculated in accordance with 14 M.R.S.A. § 6322, their remaining rights to possession of

          the Waterville Property shall terminate, and Mariners Pac shall conduct a public sale of

          the Waterville Property in accordance with 14 M.R.S.A. § 6323, disbursing the proceeds,

          first to itself in the amount of $166,095.47 after deducting the expenses of the sale, with

          any surplus to be disbursed pursuant to Paragraph 5 of this Judgment, and in accordance

          with 14 M.R.S.A. § 6324. Mariners Pac may not seek a deficiency judgment against the

          Defendants pursuant to the Plaintiff's waiver of deficiency in its Motion.

  3.      Pursuant to 14 M.R.S.A. § 2401(3)(F), the Clerk, if requested, shall sign a certification

          after the appeal period has expired, certifying that the applicable period has expired

          without action or that the final judgment has been entered following appeal

  4.      The amount due and owing is $166,095.47 as of April 26, 2021.

  5.      The priority of interests is as follows:

          •   Mariners Pac Ventures, LLC has first priority, in the amount of $166,095.47,
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              pursuant to the subject Note and Mortgage and there are no parties-in-interest other

              than the Defendants, Ricky W. Michaud and Kerri A. Michaud, who have second

              priority.

  6.      The pre-judgment interest rate is 5.75%, see 14 M.R.S.A. § 1602-B, and the post-

          judgment interest rate is 6.09%, see 14 M.R.S.A. § 1602-C.

  7.      The following information is included in this Judgment pursuant to 14 M.R.S.A. §

          2401(3):

                             PARTIES                           COUNSEL
PLAINTIFF                    Mariners Pac Ventures, LLC        John A. Doonan, Esq.
                             c/o SN Servicing Corporation,     Reneau J. Longoria, Esq.
                             323 Fifth Street                  Doonan, Graves & Longoria, LLC
                             Eureka, CA 95501                  100 Cummings Center
                                                               Suite 303C
                                                               Beverly, MA 01915
DEFENDANT
                             Kerri A. Michaud                  Defaulted
                             16 LaSalle Street, Apt. 2         Pro Se
                             Winslow, ME 04901-7021

                             Ricky W. Michaud                  Defaulted
                             12 Bell Street                    Pro Se
                             Waterville, ME 04901-4418




  a) The docket number of this case is 1:20-cv-00330-JDL.

  b) All parties to these proceedings received notice of the proceedings in accordance with the

       applicable provisions of the Federal Rules of Civil Procedure.

  c) A description of the real estate involved, 23 Canabas Avenue, Waterville, ME 04901 set forth

       in Exhibit A to the Judgment herein.

  d) The street address of the real estate involved is 23 Canabas Avenue, Waterville, ME 04901.

       The Mortgage was executed by the Defendants, Ricky W. Michaud and Kerri A. Michaud, on
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     June 25, 2009. The book and page number of the Mortgage in the Kennebec Registry of

     Deeds is Book 10152, Page 55.

  e) This Judgment shall not create any personal liability on the part of the Defendants, but shall

     act solely as an in rem judgment against the property, 23 Canabas Avenue, Waterville, ME

     04901.



     SO ORDERED.

     Dated: June 8, 2021

                                                           /s/ Jon D. Levy
                                                      CHIEF U.S. DISTRICT JUDGE
